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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION




AMAZON.COM, INC.,

                   Plaintiff,                             Case No. 1:19-cv-1095

       v.
                                                          DEMAND FOR JURY TRIAL
CORYDORAS TECHNOLOGIES, LLC,
                   Defendant.


                    COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Amazon.com, Inc. (“Amazon”) brings this complaint against Corydoras Technol-

ogies, LLC (“Corydoras”) and alleges as follows:

                                   NATURE OF THE ACTION
       1.      This is an action to protect Amazon’s customers Best Buy Co., Inc. and Best Buy

Stores, L.P. (“Best Buy”), and potentially other customers, from meritless patent lawsuits. Cory-

doras filed a lawsuit, Corydoras Techs. LLC v. Best Buy Co., Inc., Case No. 2:19-cv-00304-JRG-

RSP (E.D. Tex.), on September 4, 2019. (Exhibit A.) In it, Corydoras accuses Best Buy of patent

infringement based on allegations that Best Buy “uses, sells and/or offers for sale” Amazon’s Fire

Series tablets, including Fire HD 10, Fire HD 8, and Fire 7 (“Amazon Accused Products”).

       2.      Lawsuits like Corydoras’s against Best Buy reflect a common strategy among pa-

tent assertion entities. A product’s manufacturer knows its technology inside and out, and is there-

fore well-positioned to defend a baseless infringement claim. Downstream retailers generally lack

such knowledge. By ignoring the manufacturer and suing retailers, a patent assertion entity can

secure in terrorem settlements from retailers who decide they are ill-equipped to defend an unfa-

miliar technology and do not want their business relationships disrupted.




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       3.      Any dispute about whether Amazon’s technology infringes Corydoras’s patents

must be litigated in this case alone. Federal Circuit law could not be clearer. Recognizing the

problem caused by customer suits, it has held that the upstream manufacturer or supplier—here,

Amazon—must be given the opportunity to defend its own technology. “[L]itigation . . . brought

by the manufacturer of infringing goods takes precedence over a suit by the patent owner against

customers of the manufacturer,” and thus any customer cases—here, Corydoras’s case against Best

Buy—must be stayed or enjoined pending resolution of the manufacturer action. See Katz v. Lear

Siegler, Inc., 909 F.2d 1459, 1464 (Fed. Cir. 1990); see also In re Google Inc., 588 F. App’x 988,

990 (Fed. Cir. 2014); In re Nintendo of Am., Inc., 756 F.3d 1363, 1365 (Fed. Cir. 2014). To that

end, the Federal Circuit has expressly empowered district courts presiding over a manufacturers’

declaratory judgment action to enjoin collateral and duplicative customer suits. Katz, 909 F.2d at

1463-64.

       4.      For this reason, and as alleged more particularly herein, Amazon brings this action

for a declaratory judgment, pursuant to 28 U.S.C. §§ 2201 and 2202, to declare that the Amazon

Accused Products do not infringe Corydoras’s patents, and to enjoin Corydoras, pursuant to the

manufacturer-customer suit rule, from proceeding with its litigation against Amazon’s customer.

                                         THE PARTIES
       5.      Amazon.com, Inc. is a corporation organized and existing under the laws of the

state of Delaware, with offices and employees throughout several of the United States, including

the Western District of Texas.

       6.      Defendant Corydoras, on information and belief, is a Texas limited liability com-

pany having a registered agent located at 5900 Balcones Drive, Suite 100, Austin, TX 78731.

                                 JURISDICTION AND VENUE
       7.      This is a civil action regarding allegations of patent infringement arising under the

patent laws of the United States, Title 35 of the United States Code, in which Amazon seeks de-

claratory relief under the Declaratory Judgment Act. Corydoras has sued Amazon’s customer Best

Buy, alleging patent infringement based in part on its alleged use, sale and/or offer for sale of the




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Amazon Accused Products. Corydoras’s allegations reference the Amazon Accused Products as

among the accused products, and therefore give rise to implied infringement claims against Ama-

zon. Best Buy has requested indemnification in connection with the suit by Corydoras, and Ama-

zon has agreed to indemnify Best Buy. Thus, a substantial controversy exists between Amazon

and Corydoras that is of sufficient immediacy and reality to empower the Court to issue a declar-

atory judgment. See Microsoft Corp. v. DataTern, Inc., 755 F.3d 899, 903 (Fed. Cir. 2014). The

Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331 and 1338, and under

28 U.S.C. §§ 2201 and 2202.

        8.      This Court has personal jurisdiction over Corydoras because Corydoras is a limited

liability company formed in Texas. See Daimler AG v. Bauman, 571 U.S. 117, 137 (2014).

        9.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) and (c)(2) because Cor-

ydoras is deemed to reside in this District in which it is subject to the Court’s personal jurisdiction.

        10.     Amazon has two offices in Austin and employs around 1,200 employees in Austin.

Among these employees are witnesses who work on the design and development of the Amazon

Accused Products and who may have knowledge relevant to the issues in this case.

                                    FACTUAL BACKGROUND
        11.     The Fire Series tablets are designed and engineered by Amazon and are high per-

formance tablets designed for entertainment at an affordable price. Amazon first offered its Fire

Series tablet computers in 2011. Since this launch, Fire Series tablets have been popular among

U.S. consumers.

        12.     Best Buy is one of the retailers of the Fire Series tablets. Best Buy did not partici-

pate in the design or development of the Fire Series tablets. Best Buy’s sole role in connection

with the Fire Series tablets is distributing the tablets via its retail stores and its website.

        13.     On September 4, 2019, Corydoras filed a lawsuit against Amazon’s customer Best

Buy in the Eastern District of Texas, alleging infringement of U.S. Patent Nos. 7,778,664 (the

“’664 Patent”), 7,945,256 (the “’256 Patent”), 7,996,037 (the “’037 Patent”), 8,024,009 (the “’009

Patent”), and 8,731,540 (the “’540 Patent”). (Exhibit A.)




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        14.    Corydoras purports to be the owner of all right, title and interest in the ’664 Patent

(Exhibit B), the ’256 Patent (Exhibit C), the ’037 Patent (Exhibit D), the ’009 Patent (Exhibit

E), and the ’540 Patent (Exhibit F).

        15.    The complaint alleges that Best Buy infringes the ’664 Patent by using, selling

and/or offering for sale, inter alia, the Amazon Accused Products:

               More specifically, on information and belief, Best Buy uses, sells
               and/or offers for sale the Amazon Fire line of tablets, more specif-
               ically, the Fire HD 10 series, the Fire HD 8 series and the Fire 7
               series of tablets covered by claims 1, 3, 6-10, and/or 15-18 of the
               ‘664 patent.
(Exhibit A at 6.)

        16.    It also alleges that Best Buy infringes the ’256 Patent by using, selling and/or of-

fering for sale, inter alia, the Amazon Accused Products:

               More specifically, on information and belief, Best Buy uses, sells
               and/or offers for sale the Amazon Fire line of tablets, more specif-
               ically, the Fire HD 10 series, the Fire HD 8 series and the Fire 7
               series of tablets covered by claims 1-3, 5, 8-11, and/or 16-18 of the
               ‘256 patent.
(Id. at 10.)

        17.    It also alleges that Best Buy infringes the ’037 Patent by using, selling and/or of-

fering for sale, inter alia, the Amazon Accused Products:

               More specifically, on information and belief, Best Buy uses, sells
               and/or offers for sale the Amazon Fire line of tablets, more specif-
               ically, the Fire HD 10 series, the Fire HD 8 series and the Fire 7
               series of tablets covered by claims 1-3, 5, 8-11, and/or 16-18 of the
               ‘037 patent.
(Id. at 14.)

        18.    It also alleges that Best Buy infringes the ’009 Patent by using, selling and/or of-

fering for sale, inter alia, the Amazon Accused Products:

               More specifically, on information and belief, Best Buy uses, sells
               and/or offers for sale the Amazon Fire line of tablets, more specif-
               ically, the Fire HD 10 series, the Fire HD 8 series and the Fire 7
               series of tablets covered by claims 1-3, 5, 8-11, and/or 16-18 of the
               ‘009 patent.



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(Id. at 18.)

        19.      It also alleges that Best Buy infringes the ’540 Patent by using, selling and/or of-

fering for sale, inter alia, the Amazon Accused Products:

                 More specifically, on information and belief, Best Buy uses, sells
                 and/or offers for sale the Amazon Fire line of tablets, more specif-
                 ically, the Fire HD 10 series, the Fire HD 8 series and the Fire 7
                 series of tablets covered by claims 1-6, 8-11, and/or 13-16 of the
                 ‘540 patent.
(Id. at 22.)

        20.      The Amazon Accused Products do not infringe, and have not infringed, any claim

of ’664 Patent, the ’256 Patent, the ’037 Patent, the ’009 Patent, or the ’540 Patent, either directly

or indirectly.

        21.      Amazon has a direct and substantial interest in defeating any patent infringement

claims relating to the Amazon Accused Products at issue in Corydoras’s complaint against Best

Buy. Corydoras’s infringement allegations directly implicate Amazon and its technology and give

rise to implied infringement claims against Amazon.

        22.      Best Buy has requested indemnification in connection with the suit by Corydoras,

and Amazon has agreed to indemnify Best Buy. Accordingly, Amazon has standing to assert
claims for declaratory judgment against Corydoras. See Microsoft Corp., 755 F.3d at 904; Arris

Grp., Inc. v. British Telecomms. PLC, 639 F.3d 1368, 1375 (Fed. Cir. 2011).
        23.      This controversy is between parties having adverse legal interests and is of suffi-

cient immediacy and reality to warrant issuance of a declaratory judgment under 28 U.S.C.

§ 2201(a) as to the alleged infringement of the patents in suit by an Amazon customer using Am-

azon technology.

        24.      Amazon has therefore brought this action to obtain just and speedy resolution of

this dispute, to relieve Amazon’s customer of the unnecessary burden of litigating a meritless case

that targets the Amazon Accused Products, and to once and for all remove the cloud of uncertainty

that has been cast over the Amazon Accused Products. Goodyear Tire & Rubber Co. v. Re-

leasomers, Inc., 824 F.2d 953, 956 (Fed. Cir. 1987) (“[T]he purpose of the Declaratory Judgment



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Act . . . in patent cases is to provide the allegedly infringing party relief from uncertainty and delay

regarding its legal rights.”); Elecs. for Imaging, Inc. v. Coyle, 394 F.3d 1341, 1347 (Fed. Cir. 2005)

(where patentee’s “forceful threats [against customers] created a cloud over [supplier’s] business,

shareholders, and customers, and [supplier’s] potential liability increased as it continued to sell the

allegedly infringing products,” supplier “entitled under the Declaratory Judgment Act to seek a

timely resolution of . . . threats of litigation and remove itself from ‘the shadow of threatened

infringement litigation’”) (citation omitted).

       FIRST CAUSE OF ACTION—DECLARATION OF NON-INFRINGEMENT
                        (U.S. PATENT NO. 7,778,664)
        25.     Amazon restates and incorporates by reference each of the allegations in the pre-

ceding paragraphs of this complaint.

        26.     Corydoras has alleged and continues to allege that use or incorporation of Ama-

zon’s technology infringes claims of the ’664 patent.

        27.     Amazon has not and does not make, use, offer for sale, or import any product, ser-

vice, or technology that infringes, induces, or contributes to any infringement of, any claim of the

’664 patent either literally or under the doctrine of equivalents. Nor does Amazon’s technology,

including the Amazon Accused Products, infringe the ’664 patent either literally or under the doc-

trine of equivalents.

        28.     The ’664 patent is directed to a communication device. Claim 1, for example, re-

cites: “a multiple mode implementor [which] implements a voice communication mode, a digital

mirror mode, a video phone mode, and a call blocking mode . . . visual data is input via said cam-

era, said visual data is converted to an inverted visual data which is inverted data of said visual

data, and said inverted visual data is output from said display when said digital mirror mode is

implemented . . . when said communication device receives an incoming call via said antenna and

the identification of the caller of said incoming call is determined to be included in a call blocking

list, communication between the caller and said communication device is not implemented when

said call blocking mode is implemented.”




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       29.     Neither Amazon nor its technology, including the Amazon Accused Products, in-

fringes the ’664 patent directly or indirectly, literally or under the doctrine of equivalents, for at

least the following reasons. For example, the Amazon Accused Products do not comprise the

claimed multiple mode implementor, the claimed digital mirror mode, or the claimed call blocking

mode. The Amazon Accused Products, therefore, do not meet at least the aforementioned claim

requirements of claim 1 and similar claim limitations in the other claims of the ’664 patent.

       30.     An actual and justiciable controversy exists between Amazon and Corydoras as to

Amazon’s non-infringement of the ’664 patent.

       31.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., Am-

azon seeks a declaration that it does not infringe any claim of the ’664 patent.

     SECOND CAUSE OF ACTION—DECLARATION OF NON-INFRINGEMENT
                       (U.S. PATENT NO. 7,945,256)
       32.     Amazon restates and incorporates by reference each of the allegations in the pre-

ceding paragraphs of this complaint.

       33.     Corydoras has alleged and continues to allege that use or incorporation of Ama-

zon’s technology infringes claims of the ’256 patent.

       34.     Amazon has not and does not make, use, offer for sale, or import any product, ser-

vice, or technology that infringes, induces, or contributes to any infringement of, any claim of the

’256 patent either literally or under the doctrine of equivalents. Nor does Amazon’s technology,

including the Amazon Accused Products, infringe the ’256 patent either literally or under the doc-

trine of equivalents.

       35.     The ’256 patent is directed to a communication device. Claim 1, for example, re-

cites: “a multiple function implementor [which] implements a voice communication function, a

digital mirror function, and a remote controlling function . . . visual data is input via said camera,

said visual data is converted to an inverted visual data which is inverted data of said visual data,

and said inverted visual data is output from said display when said digital mirror function is im-

plemented; and a specific device, which is a device different from said communication device, is




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remotely controlled by said communication device in a wireless fashion when said remote control-

ling function is implemented.”

       36.     Neither Amazon nor its technology, including the Amazon Accused Products, in-

fringes the ’256 patent directly or indirectly, literally or under the doctrine of equivalents, for at

least the following reasons. For example, the Amazon Accused Products do not comprise the

claimed multiple function implementor, the claimed digital mirror function, or the claimed specific

device. The Amazon Accused Products, therefore, do not meet at least the aforementioned claim

requirements of claim 1 and similar claim limitations in the other claims of the ’256 patent.

       37.     An actual and justiciable controversy exists between Amazon and Corydoras as to

Amazon’s non-infringement of the ’256 patent.

       38.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., Am-

azon seeks a declaration that it does not infringe any claim of the ’256 patent.

      THIRD CAUSE OF ACTION—DECLARATION OF NON-INFRINGEMENT
                       (U.S. PATENT NO. 7,996,037)
       39.     Amazon restates and incorporates by reference each of the allegations in the pre-

ceding paragraphs of this complaint.

       40.     Corydoras has alleged and continues to allege that use or incorporation of Ama-

zon’s technology infringes claims of the ’037 patent.

       41.     Amazon has not and does not make, use, offer for sale, or import any product, ser-

vice, or technology that infringes, induces, or contributes to any infringement of, any claim of the

’037 patent either literally or under the doctrine of equivalents. Nor does Amazon’s technology,

including the Amazon Accused Products, infringe the ’037 patent either literally or under the doc-

trine of equivalents.

       42.     The ’037 patent is directed to a communication device. Claim 1, for example, re-

cites: “a multiple function implementor [which] implements a voice communication function, a

digital mirror function, and a voice dialing function . . . visual data is input via said camera, said

visual data is converted to an inverted visual data which is inverted data of said visual data, and




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said inverted visual data is output from said display when said digital mirror function is imple-

mented; and a dialing process is performed by utilizing an audio data retrieved via said microphone

when said voice dialing function is implemented.”

       43.     Neither Amazon nor its technology, including the Amazon Accused Products, in-

fringes the ’037 patent directly or indirectly, literally or under the doctrine of equivalents, for at

least the following reasons. For example, the Amazon Accused Products do not comprise the

claimed multiple function implementor, the claimed digital mirror function, or the claimed dialing

process. The Amazon Accused Products, therefore, do not meet at least the aforementioned claim

requirements of claim 1 and similar claim limitations in the other claims of the ’037 patent.

       44.     An actual and justiciable controversy exists between Amazon and Corydoras as to

Amazon’s non-infringement of the ’037 patent.

       45.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., Am-

azon seeks a declaration that it does not infringe any claim of the ’037 patent.

     FOURTH CAUSE OF ACTION—DECLARATION OF NON-INFRINGEMENT
                      (U.S. PATENT NO. 8,024,009)
       46.     Amazon restates and incorporates by reference each of the allegations in the pre-

ceding paragraphs of this complaint.

       47.     Corydoras has alleged and continues to allege that use or incorporation of Ama-

zon’s technology infringes claims of the ’009 patent.

       48.     Amazon has not and does not make, use, offer for sale, or import any product, ser-

vice, or technology that infringes, induces, or contributes to any infringement of, any claim of the

’009 patent either literally or under the doctrine of equivalents. Nor does Amazon’s technology,

including the Amazon Accused Products, infringe the ’009 patent either literally or under the doc-

trine of equivalents.

       49.     The ’009 patent is directed to a communication device. Claim 1, for example, re-

cites: “a multiple function implementor [which] implements a voice communication function, a

digital mirror function, and an answer rejecting function . . . visual data is input via said camera,




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said visual data is converted to an inverted visual data which is inverted data of said visual data,

and said inverted visual data is output from said display when said digital mirror function is im-

plemented; and answering to a phone call addressed to said communication device is rejected when

said answer rejecting function is implemented.”

       50.     Neither Amazon nor its technology, including the Amazon Accused Products, in-

fringes the ’009 patent directly or indirectly, literally or under the doctrine of equivalents, for at

least the following reasons. For example, the Amazon Accused Products do not comprise the

claimed multiple function implementor, the claimed digital mirror function, or the claimed reject-

ing function. The Amazon Accused Products, therefore, do not meet at least the aforementioned

claim requirements of claim 1 and similar claim limitations in the other claims of the ’009 patent.

       51.     An actual and justiciable controversy exists between Amazon and Corydoras as to

Amazon’s non-infringement of the ’009 patent.

       52.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., Am-

azon seeks a declaration that it does not infringe any claim of the ’009 patent.

       FIFTH CAUSE OF ACTION—DECLARATION OF NON-INFRINGEMENT
                        (U.S. PATENT NO. 8,731,540)
       53.     Amazon restates and incorporates by reference each of the allegations in the pre-

ceding paragraphs of this complaint.

       54.     Corydoras has alleged and continues to allege that use or incorporation of Ama-

zon’s technology infringes claims of the ’540 patent.

       55.     Amazon has not and does not make, use, offer for sale, or import any product, ser-

vice, or technology that infringes, induces, or contributes to any infringement of, any claim of the

’540 patent either literally or under the doctrine of equivalents. Nor does Amazon’s technology,

including the Amazon Accused Products, infringe the ’540 patent either literally or under the doc-

trine of equivalents.

       56.     The ’540 patent is directed to a communication device. Claim 1, for example, re-

cites: “a multiple function implementer [which] implements a voice communication function, a




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digital mirror function, a non-digital mirror function, and an email function . . . a first visual data

is processed to be retrieved via said first camera, said first visual data is processed to be inverted,

and said first visual data which is inverted is processed to be displayed on said display when said

digital mirror function is implemented; a second visual data is processed to be retrieved via said

second camera and said second visual data is processed to be displayed on said display when said

non-digital mirror function is implemented, wherein said second visual data is the visual data

which is not inverted.”

       57.      Neither Amazon nor its technology, including the Amazon Accused Products, in-

fringes the ’540 patent directly or indirectly, literally or under the doctrine of equivalents, for at

least the following reasons. For example, the Amazon Accused Products do not comprise the

claimed multiple function implementor, the claimed digital mirror function, or the claimed non-

digital mirror function. The Amazon Accused Products, therefore, do not meet at least the afore-

mentioned claim requirements of claim 1 and similar claim limitations in the other claims of the

’540 patent.

       58.      An actual and justiciable controversy exists between Amazon and Corydoras as to

Amazon’s non-infringement of the ’540 patent.

       59.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., Am-

azon seeks a declaration that it does not infringe any claim of the ’540 patent.

                                     PRAYER FOR RELIEF
       WHEREFORE, Amazon prays for a declaratory judgment against Corydoras as follows:

       A.       A declaration that Amazon does not infringe any claim of the ’664 Patent;

       B.       A declaration that Amazon does not infringe any claim of the ’256 Patent;

       C.       A declaration that Amazon does not infringe any claim of the ’037 Patent;

       D.       A declaration that Amazon does not infringe any claim of the ’009 Patent;

       E.       A declaration that Amazon does not infringe any claim of the ’540 Patent;

       F.       An injunction against Corydoras, and all persons acting on its behalf or in concert

                with it, restraining them from further prosecuting or instituting any action alleging




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              that any Amazon method, product, or technology, or others’ use thereof, infringes

              any claim of any of the ’664, ’256, ’037, ’009, and ’540 Patents;

    G.        An award of costs and attorneys’ fees to Amazon; and

    H.        Such other and further relief as the Court deems just and reasonable.

                                  JURY TRIAL DEMAND
    Amazon hereby requests a trial by jury on all issues so triable.


                                                Respectfully, submitted,


                                                /s/ Barry K. Shelton
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                                                Counsel for
November 11, 2019                               AMAZON.COM, INC.




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